 11-12942-tmd Doc#103 Filed 10/03/13 Entered 10/04/13 00:19:59 Imaged Certificate of
12-01102-tmd Doc#59 Filed 09/16/13 Notice
                                    Entered
                                          Pg09/16/13
                                             1 of 4 13:53:47 Main Document Pg 1 of 3




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.

  Dated: September 16, 2013.

                                               __________________________________
                                                         TONY M. DAVIS
                                               UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________
 11-12942-tmdDoc#59
12-01102-tmd  Doc#103  Filed
                    Filed    10/03/13
                          09/16/13     Entered
                                    Entered    10/04/13
                                            09/16/13     00:19:59
                                                     13:53:47 MainImaged Certificate
                                                                   Document   Pg 2 ofof3
                                   Notice Pg 2 of 4
 11-12942-tmdDoc#59
12-01102-tmd  Doc#103  Filed
                    Filed    10/03/13
                          09/16/13     Entered
                                    Entered     10/04/13
                                            09/16/13     00:19:59
                                                     13:53:47 MainImaged Certificate
                                                                   Document   Pg 3 ofof3
                                   Notice Pg 3 of 4
        11-12942-tmd Doc#103 Filed 10/03/13 Entered 10/04/13 00:19:59 Imaged Certificate of
                                        Notice Pg 4 of 4
                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 11-12942-tmd
Kelly L. Knapper                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-1                  User: chapmana                     Page 1 of 1                          Date Rcvd: Oct 01, 2013
                                      Form ID: pdfintp                   Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 03, 2013.
db            +Kelly L. Knapper,   603 Davis Street,   #1801,   Austin, TX 78701-4254
cr             Wells Fargo Bank, N.A.,   P O Box 829009,   Dallas, TX 75382-9009

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr           ##+Lori Anderson,   7686 Petersburgh Place,   Frisco, TX 75035-3140
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 03, 2013                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 1, 2013 at the address(es) listed below:
              Brent A. Devere    on behalf of Debtor Kelly L. Knapper bdevere512@aol.com
              Brent A. Devere    on behalf of Defendant Kelly L. Knapper bdevere512@aol.com
              Douglas J. Powell    on behalf of Creditor Lori Anderson notices@swbell.net
              Hilary B. Bonial    on behalf of Creditor   Wells Fargo Bank, N.A. notice@bkcylaw.com
              John Patrick Lowe    on behalf of Plaintiff John Patrick Lowe, Trustee johnplowe@sbcglobal.net,
               plowe@ecf.epiqsystems.com
              John Patrick Lowe    johnplowe@sbcglobal.net, plowe@ecf.epiqsystems.com
              John Patrick Lowe    on behalf of Trustee John Patrick Lowe johnplowe@sbcglobal.net
              Michael J. Burns    on behalf of Creditor   Wells Fargo Bank, N.A. mb2@bvwlaw.com,
               cdpryor@nbsdefaultservices.com;csanchez@nbsdefaultservices.com
              Nancy L Perry    on behalf of Defendant Kelly L. Knapper n.perry@nlplaw.com,
               alreeseriewe@yahoo.com
              Nancy L Perry    on behalf of Debtor Kelly L. Knapper n.perry@nlplaw.com, alreeseriewe@yahoo.com
              United States Trustee - AU12    ustpregion07.au.ecf@usdoj.gov
                                                                                             TOTAL: 11
